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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA


    Clinton Brown,                                  Case No. CV 23-02938-ODW(JCx)
                                                    SELF-REPRESENTATION ORDER
                  Plaintiff,
           v.
    Steve Mead,

                  Defendants.




           One or more of the parties to this action has elected to appear pro se. Persons appearing
    before this Court are not required to retain the services of a lawyer or obtain the advice of
    counsel. Individual litigants may represent themselves pro se, but corporations and associations
    must be represented by counsel. See Church of the New Testament v. United States, 783 F.2d
    771, 773 (9th Cir. 1986) (unincorporated associations); In re Highley, 459 F.2d 554, 555 (9th
    Cir. 1972) (corporations). In addition, non-attorney litigants may not represent other individual
    litigants or trusts for which they serve as trustee. See Johns v. County of San Diego, 114 F.3d
    874, 876 (9th Cir. 1997) (minor children); C.E. Pope Equity Trust v. United States, 818 F.2d
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    696, 697-98 (9th Cir. 1987) (trust); McShane v. United States, 366 F.2d 286, 288 (9th Cir. 1996)
    (other litigants). A partner may not represent his or her own interest in a partnership pro se, and
    a sole shareholder may not represent a corporation. See In re Am. West Airlines, 40 F.3d 1058,
    1059 (9th Cir. 1994) (per curiam) (partner); United States v. High Country Broad. Co., Inc., 3
    F.3d 1244, 1245 (9th Cir. 1993) (per curiam) (shareholder).
           Proceeding pro se is not without its pitfalls, and this Court wishes to make those
    pitfalls known at the outset of this proceeding:
           !      Generally speaking, non-attorney litigants are less likely to be victorious than
                  those assisted by counsel.
           !      The opposing party may have a lawyer, and that lawyer will show you no
                  mercy. That lawyer's duty is to achieve victory for his or her client. He or she
                  will take every step legally permissible to that end.
           !      The Court is a neutral adjudicator of the law. The role of the judge is to
                  resolve disputes arising between the parties in accordance with the law. As
                  such, the judge cannot assist you, cannot answer your legal questions, and
                  cannot take sides in the dispute. Nor can any members of the judge's staff.
           !      You will be proceeding alone in a complex area where experience and
                  professional training are greatly desired.
           Simply put, when you elect to proceed pro se, you are on your own and become
    personally responsible for litigating your action in accordance with the rules. Practice in the
    federal courts is governed by the Federal Rules of Civil Procedure. You must become familiar
    with these rules. You will be held to the same standards as a lawyer as far as complying with
    court procedures and the rules and regulations of the court system.
           As litigating an action in federal court often requires a great deal of time, preparation,
    knowledge, and skill, this Court highly recommends against proceeding without the assistance
    of counsel. Some attorneys will represent clients on a contingency fee basis, whereby the fees




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    associated with representation are subtracted from a judgment in favor of the client.1/ However,
    should you wish to continue without counsel – fully understanding the risks – you are hereby
    ordered to carefully review the remainder of this Order, as it contains instructions for
    proceeding in this Court which must be followed.
           This Order, while not comprehensive – and not a substitute for fully familiarizing
    yourself with the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the Local
    Rules of Practice for the United States District Court for the Central District of California, the
    orders of this Court, including the Court’s Standing Order, Scheduling Order, and Civil Trial
    Order, as well as federal and state case law applicable to this action – is intended to bring
    certain aspects of law and motion practice to your attention at an early stage in the litigation to
    remedy problems commonly associated with pro se pleadings.2/
           Communications with Chambers: Pursuant to Local Rule 83-2.11, parties shall
    refrain from writing letters to the judge, making telephone calls to chambers, or otherwise
    communicating with a judge unless opposing counsel is present. You may contact the
    Courtroom Deputy, at (213) 894-8266, with appropriate inquiries. The Courtroom Deputy is
    not an attorney, and will not provide you with any legal advice. The Courtroom Deputy cannot
    waive any of the requirements of this, or any other, Order. Should you wish to bring any matter
    to the attention of the Court, you must do so in writing, and file it and serve it on the opposing
    party. The Court's Electronic Document Submission System ("EDSS") allows people without
    lawyers who have pending cases in the United States District Court for the Central District of
    California or who wish to file a new case to submit documents electronically to the Clerk's
    Office. To access EDSS and for additional information, visit the Court's website at
    https://apps.cacd.uscourts.gov/edss

    1/
           The Los Angeles County Bar Association Lawyer Referral and Information Services
    may be able to refer you to a lawyer who may or may not be willing to take your case on a
    contingency basis. The lawyer referral service may be reached at (213) 243-1525.
    2/
           This Court’s orders and the Local Rules of Practice for the United States District
    Court for the Central District of California are available on the district court’s website:
    www.cacd.uscourts.gov
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           Jurisdiction: The Federal Rules of Civil Procedure require that “[a] pleading which sets
    forth a claim for relief ... shall contain (1) a short and plain statement of the grounds upon which
    the court’s jurisdiction depends.” Fed. R. Civ. P. 8(a). This District’s Local Rules further
    provide that “[t]he statutory or other basis for the exercise of jurisdiction by this Court shall be
    plainly stated in . . . any document invoking this Court’s jurisdiction.” Local Rule 8-1. A copy
    of Fed. R. Civ. P. 8 is attached.
           This is extremely important. Unlike state courts, federal courts are not courts of
    general jurisdiction, and can only preside over matters authorized by the Constitution and
    Congress. Bender v. Williamsport Area Sch. Dist., 475 U.S. 534, 541, 106 S. Ct. 1326, 1331,
    89 L. Ed. 2d 501 (1986). In other words, the party filing the action must prove to the Court that
    jurisdiction over the action exists before the Court can reach the merits of the complaint. See
    Smith v. McCullough, 270 U.S. 456, 459, 46 S. Ct. 338, 339, 70 L. Ed. 682 (1926) (A “plaintiff,
    suing in federal court, must show in his pleading, affirmatively and distinctly, the existence of
    whatever is essential to federal jurisdiction . . . .”).
           Federal jurisdiction may be alleged either pursuant to 28 U.S.C. section 1331 for actions
    “arising under the Constitution, laws, or treaties of the United States,” otherwise known as
    “federal question” jurisdiction, or 28 U.S.C. section 1332 as an action “between citizens of
    different States,” otherwise known as “diversity” jurisdiction.
           To allege federal question jurisdiction, the complaint should identify which right(s) the
    plaintiff(s) claim(s) have been violated, and which law, statute, or constitutional amendment
    provides that right. See Keniston v. Roberts, 717 F.2d 1295, 1298 (9th Cir. 1983).
           Diversity jurisdiction has two requirements. First, diversity jurisdiction requires
    complete diversity of citizenship, that is, all plaintiffs must have a different citizenship from all
    defendants. See Owen Equipment & Erection Co. v. Kroger, 437 U.S. 365, 373, 98 S. Ct. 2396,
    2402, 57 L. Ed. 2d 274 (1978). Residence and citizenship are distinct concepts, with
    significantly different jurisdictional ramifications: “[i]n order to be a citizen of a State within
    the meaning of the diversity statute, a natural person must both be a citizen of the United States
    and be domiciled within the State.” Newman-Green, Inc. v. Alfonzo-Larrain, 490 U.S. 826,
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    828, 109 S. Ct. 2218, 2221, 104 L. Ed. 2d 893 (1989). “A person’s domicile is her permanent
    home, where she resides with the intention to remain or to which she intends to return. A
    person residing in a given state is not necessarily domiciled there, and thus is not necessarily
    a citizen of that state.” Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001)
    (citations omitted). Corporations are citizens of both their state of incorporation and the state
    in which they have their principal place of business. 28 U.S.C. § 1332(c)(1); see also New
    Alaska Dev. Corp. v. Guetschow, 869 F.2d 1298, 1300-01 (9th Cir. 1989). Unincorporated
    associations are citizens of the states of each member. See Fifty Associates v. Prudential Ins.
    Co. of Am., 446 F.2d 1187, 1190 (9th Cir. 1970). Second, when jurisdiction is based on
    diversity of citizenship, district courts do not have original jurisdiction unless a party alleges
    an amount in controversy exceeding $75,000. 28 U.S.C. § 1332(a).
           Finally, you should understand that it is insufficient for a party to merely claim that
    jurisdiction exists. Sufficient facts must be alleged to allow the Court to assess whether it has
    jurisdiction over the action.
           Service: Service is the formal delivery of a legal pleading. The Federal Rules of Civil
    Procedure have different requirements for service to be effective depending on the type of entity
    to be served: service on an individual within the United States is governed by Fed. R. Civ. P.
    4(e), corporations and associations must be served in conformity with Rule 4(h), the United
    States and it agencies must be served pursuant to Fed. R. Civ. P. 4(i), and state and local
    governmental units require service under Fed. R. Civ. P. 4(j).
           Time limits for service of the complaint are set forth in Fed. R. Civ. P. 4(m). It is
    important to promptly and properly serve the opposing party, especially with the summons and
    complaint when initiating an action, because failure to serve within the time limits specified
    by the Federal Rules may result in the dismissal of your action for lack of prosecution.
    You must always inform the Court whenever you serve a filing on an opposing party; this is
    done by filing a proof of service. See Fed. R. Civ. P. 4(l).
           Discovery: Discovery is the mechanism by which the parties to an action collect
    evidence relating to the case from one another. Certain information is expected to be provided
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    to the other side without a request. See Fed. R. Civ. P. 26(a). If the other side seeks to obtain
    discovery from you, you must cooperate and provide the information sought on “any matter, not
    privileged, that is relevant to the claim or defense of any party.” Fed. R. Civ. P. 26(b)(1). The
    principal forms of discovery envisioned by the Federal Rules are the production and inspection
    of documents, requests for admissions, depositions and interrogatories. Discovery disputes are
    resolved by, and should be brought to the attention of, the magistrate judge assigned to the
    action. Discovery should begin early in the litigation and may commence prior to the
    Scheduling Conference.
           Motions: Motions are requests to this Court to make a specified ruling or order. The
    opposing party may file a motion to dismiss your action, pursuant to Fed. R. Civ. P. 12, or a
    motion for summary judgment pursuant to Fed. R. Civ. P. 56. If the opposing party files and
    serves a motion on you, you must oppose it if you disagree with the requested relief. Failure
    to oppose an otherwise properly supported motion may result in the Court granting that
    motion. See Local Rule 7-12. Depending on the motion, this may result in the dismissal
    of your case.
           To oppose a motion, you must present the Court with a statement explaining the basis
    of your opposition and the legal authority supporting your contentions. You must also file any
    evidence upon which you intend to base your opposition to a motion for summary judgment.
    Pursuant to Local Rule 7-9, your opposition is due not later than twenty-one (21) days before
    the date designated for the hearing of the motion. If you need additional time to oppose the
    motion, you must file and serve an ex parte application requesting an extension of time prior
    to the date on which your opposition is due, and must demonstrate that the additional time you
    seek is warranted and that the requested extension is not a crisis of your creation, thus
    precluding you from seeking ex parte relief. See Mission Power Eng’g Co. v. Continental Cas.
    Co., 883 F. Supp. 488, 492 (C.D. Cal. 1995).
           Motion to Dismiss: A Fed. R. Civ. P. 12(b)(6) motion to dismiss for failure to state a
    claim tests the legal sufficiency of the claims asserted in the complaint. Under Fed. R. Civ. P.
    12(b)(6), a motion to dismiss can be made and granted when the complaint fails “to state a claim
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    upon which relief can be granted.” Dismissal under Rule 12(b)(6) is appropriate where the
    complaint lacks a cognizable legal theory or sufficient facts to support a cognizable legal theory.
    Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1990).
           To sufficiently state a claim to relief and survive a 12(b)(6) motion, a complaint’s
    “[f]actual allegations must be enough to raise a right to relief above the speculative level.” Bell
    Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Mere “labels and conclusions” or a
    “formulaic recitation of the elements of a cause of action will not do.” Id. Rather, “[t]o survive
    a motion to dismiss, a complaint must contain sufficient factual matter, accepted as true, to state
    a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, __ U.S. __, 129 S.Ct. 1937,
    1949, 173 L. Ed. 2d 868 (2009) (internal quotation marks omitted). “The plausibility standard
    is not akin to a probability requirement, but it asks for more than a sheer possibility that a
    defendant has acted unlawfully. Where a complaint pleads facts that are merely consistent with
    a defendant’s liability, it stops short of the line between possibility and plausibility of
    entitlement to relief.” Id. (internal citation and quotation marks omitted).
           In deciding whether to grant a motion to dismiss, the court must accept as true all “well-
    pleaded factual allegations.” Iqbal, 129 S. Ct. at 1950. A court is not, however, “required to
    accept as true allegations that are merely conclusory, unwarranted deductions of fact, or
    unreasonable inferences.” Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir.
    2001); see, e.g., Doe I v. Wal-Mart Stores, Inc., __F.3d __, 2009 WL 1978730, at *3 (9th Cir.
    July 10, 2009) (“Plaintiffs’ general statement that Wal-Mart exercised control over their day-to-
    day employment is a conclusion, not a factual allegation stated with any specificity. We need
    not accept Plaintiffs’ unwarranted conclusion in reviewing a motion to dismiss.”).
           Thus, the Ninth Circuit has summarized the governing standard, in light of Twombly and
    Iqbal, as follows: “In sum, for a complaint to survive a motion to dismiss, the non-conclusory
    factual content, and reasonable inferences from that content, must be plausibly suggestive of
    a claim entitling the plaintiff to relief.” Moss v. U.S. Secret Service, 572 F.3d 962, 969 (9th Cir.
    2009) (internal quotation marks omitted).
           Motion for Summary Judgment: Summary judgment may be granted when there are

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    no material facts in dispute between the parties, making a trial unnecessary. To resist summary
    judgment under Fed. R. Civ. P. 56, you must submit affidavits or other documentary evidence,
    such as depositions and answers to interrogatories, which set forth specific facts showing there
    is a genuine issue for trial. Klingele v. Eikenberry, 849 F.2d 409, 411-12 (9th Cir. 1988).
    Failure to do so may result in the entry of summary judgment against you. You should also note
    that Rule 56(e) requires that affidavits or declarations shall be made on personal knowledge, set
    forth facts that are admissible as evidence, and show affirmatively that the affiant is competent
    to testify to the matters stated therein. A copy of Fed. R. Civ. P. 56 is attached. Should you
    fail to contradict the moving party with counter-affidavits, declarations or other evidence,
    the moving party’s evidence may be taken as the truth, and final judgment may be entered
    against you without a trial, thus ending your case. Rand v. Rowland, 154 F.3d 952, 960-61
    (9th Cir. 1998).
           To effectively address a summary judgment motion, you should be aware of, and familiar
    with, the following United States Supreme Court cases on summary judgment: Celotex v.
    Catrett, 477 U.S. 317, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986); Anderson v. Liberty Lobby,
    Inc., 477 U.S. 242, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986); Matsushita Elec. Indus. Co. v.
    Zenith Radio Corp., 475 U.S. 574, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986).
           IT IS SO ORDERED.

     DATED: April 21, 2023



                                                     _________________________________
                                                                Otis D. Wright II
                                                       UNITED STATES DISTRICT JUDGE
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                                     RULE 8. GENERAL RULES OF PLEADING

(a) Claims for Relief. A pleading which sets forth a claim for relief, whether an original claim, counterclaim,
cross-claim, or third-party claim, shall contain (1) a short and plain statement of the grounds upon which the
court's jurisdiction depends, unless the court already has jurisdiction and the claim needs no new grounds of
jurisdiction to support it, (2) a short and plain statement of the claim showing that the pleader is entitled to relief,
and (3) a demand for judgment for the relief the pleader seeks. Relief in the alternative or of several different
types may be demanded.

(b) Defenses; Form of Denials. A party shall state in short and plain terms the party's defenses to each claim
asserted and shall admit or deny the averments upon which the adverse party relies. If a party is without
knowledge or information sufficient to form a belief as to the truth of an averment, the party shall so state and
this has the effect of a denial. Denials shall fairly meet the substance of the averments denied. When a pleader
intends in good faith to deny only a part or a qualification of an averment, the pleader shall specify so much of
it as is true and material and shall deny only the remainder. Unless the pleader intends in good faith to controvert
all the averments of the preceding pleading, the pleader may make denials as specific denials of designated
averments or paragraphs or may generally deny all the averments except such designated averments or paragraphs
as the pleader expressly admits; but, when the pleader does so intend to controvert all its averments, including
averments of the grounds upon which the court's jurisdiction depends, the pleader may do so by general denial
subject to the obligations set forth in Rule 11.

(c) Affirmative Defenses. In pleading to a preceding pleading, a party shall set forth affirmatively accord and
satisfaction, arbitration and award, assumption of risk, contributory negligence, discharge in bankruptcy, duress,
estoppel, failure of consideration, fraud, illegality, injury by fellow servant, laches, license, payment, release, res
judicata, statute of frauds, statute of limitations, waiver, and any other matter constituting an avoidance or
affirmative defense. When a party has mistakenly designated a defense as a counterclaim or a counterclaim as a
defense, the court on terms, if justice so requires, shall treat the pleading as if there had been a proper designation.

(d) Effect of Failure to Deny. Averments in a pleading to which a responsive pleading is required, other than
those as to the amount of damage, are admitted when not denied in the responsive pleading. Averments in a
pleading to which no responsive pleading is required or permitted shall be taken as denied or avoided.

(e)   Pleading to be Concise and Direct; Consistency.

    (1) Each averment of a pleading shall be simple, concise, and direct. No technical forms of pleading or
motions are required.

     (2) A party may set forth two or more statements of a claim or defense alternately or hypothetically, either
in one count or defense or in separate counts or defenses. When two or more statements are made in the
alternative and one of them if made independently would be sufficient, the pleading is not made insufficient by
the insufficiency of one or more of the alternative statements. A party may also state as many separate claims or
defenses as the party has regardless of consistency and whether based on legal, equitable, or maritime grounds.
All statements shall be made subject to the obligations set forth in Rule 11.

(f) Construction of Pleadings. All pleadings shall be so construed as to do substantial justice.

  Rule 12. DEFENSES AND OBJECTIONS--WHEN AND HOW PRESENTED--BY PLEADING OR
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                 MOTION--MOTION FOR JUDGMENT ON THE PLEADINGS


(a)   Time to Serve a Responsive Pleading.

      (1) In General: Unless another time is specified by this rule or a federal statute, the
      time for serving a responsive pleading is as follows:

             (A) A defendant must serve an answer:

                    (i) within 21 days after being served with the summons and complaint;
                    or

                    (ii) if it has timely waived service under Rule 4(d), within 60 days after
                    the request for a waiver was sent, or within 90 days after it was sent to
                    the defendant outside any judicial district of the United States.

             (B) A party must serve an answer to a counterclaim or crossclaim within 21
             days after being served with the pleading that states the counterclaim or
             crossclaim.

             (C) A party must serve a reply to an answer within 21 days after being served
             with an order to reply, unless the order specifies a different time.

      (2) United States and Its Agencies, Officers, or Employees Sued in an Official
      Capacity. The United States, a United States agency, or a United States officer or
      employee sued only in an official capacity must serve an answer to a complaint,
      counterclaim, or crossclaim within 60 days after service on the United States attorney.

      (3) United States Officers or Employees Sued in an Individual Capacity. A United
      States officer or employee sued in an individual capacity for an act or omission
      occurring in connection with duties performed on the United Statesâ€™ behalf must
      serve an answer to a complaint, counterclaim, or crossclaim within 60 days after
      service on the officer or employee or service on the United States attorney, whichever
      is later.

      (4) Effect of a Motion. Unless the court sets a different time, serving a motion under
      this rule alters these periods as follows:

             (A) if the court denies the motion or postpones its disposition until trial, the
             responsive pleading must be served within 14 days after notice of the
             courtâ€™s action; or

             (B) if the court grants a motion for a more definite statement, the responsive
             pleading must be served within 14 days after the more definite statement is
             served.

(b)   How to Present Defenses. Every defense to a claim for relief in any pleading must be
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       asserted in the responsive pleading if one is required. But a party may assert the
       following defenses by motion:

       (1) lack of subject-matter jurisdiction;

       (2) lack of personal jurisdiction;

       (3) improper venue;

       (4) insufficient process;

       (5) insufficient service of process;

       (6) failure to state a claim upon which relief can be granted; and

       (7) failure to join a party under Rule 19.

A motion asserting any of these defenses must be made before pleading if a responsive
pleading is allowed. If a pleading sets out a claim for relief that does not require a responsive
pleading, an opposing party may assert at trial any defense to that claim. No defense or
objection is waived by joining it with one or more other defenses or objections in a
responsive pleading or in a motion.

(c)    Motion for Judgment on the Pleadings. After the pleadings are closed â€” but early
       enough not to delay trial â€” a party may move for judgment on the pleadings.

(d)    Result of Presenting Matters Outside the Pleadings. If, on a motion under Rule
       12(b)(6) or 12(c), matters outside the pleadings are presented to and not excluded by
       the court, the motion must be treated as one for summary judgment under Rule 56. All
       parties must be given a reasonable opportunity to present all the material that is
       pertinent to the motion.

(e)    Motion For a More Definite Statement. A party may move for a more definite
       statement of a pleading to which a responsive pleading is allowed but which is so
       vague or ambiguous that the party cannot reasonably prepare a response. The motion
       must be made before filing a responsive pleading and must point out the defects
       complained of and the details desired. If the court orders a more definite statement and
       the order is not obeyed within 14 days after notice of the order or within the time the
       court sets, the court may strike the pleading or issue any other appropriate order.

(f)    Motion To Strike. The court may strike from a pleading an insufficient defense or any
       redundant, immaterial, impertinent, or scandalous matter. The court may act:

       (1) on its own; or

       (2) on motion made by a party either before responding to the pleading or, if a
       response is not allowed, within 21 days after being served with the pleading.
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(g)   Joining Motions.

      (1) Right to Join. A motion under this rule may be joined with any other motion
      allowed by this rule.

      (2) Limitation on Further Motions. Except as provided in Rule 12(h)(2) or (3), a party
      that makes a motion under this rule must not make another motion under this rule
      raising a defense or objection that was available to the party but omitted from its
      earlier motion.

(h)   Waiving and Preserving Certain Defenses.

      (1) When Some Are Waived. A party waives any defense listed in Rule 12(b)(2)-(5)
      by:

             (A) omitting it from a motion in the circumstances described in Rule 12(g)(2);
             or

             (B) failing to either:

                     (i) make it by motion under this rule; or

                     (ii) include it in a responsive pleading or in an amendment allowed by
                     Rule 15(a)(1) as a matter of course.

      (2) When to Raise Others. Failure to state a claim upon which relief can be granted,
      to join a person required by Rule 19(b), or to state a legal defense to a claim may be
      raised:

             (A) in any pleading allowed or ordered under Rule 7(a);

             (B) by a motion under Rule 12(c); or

             (C) at trial.

      (3) Lack of Subject-Matter Jurisdiction. If the court determines at any time that it
      lacks subject-matter jurisdiction, the court must dismiss the action.

(i)   Hearing Before Trial. If a party so moves, any defense listed in Rule 12(b)(1)-(7) â€”
      whether made in a pleading or by motion â€” and a motion under Rule 12(c) must be
      heard and decided before trial unless the court orders a deferral until trial.




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                             RULE 56. SUMMARY JUDGMENT

(a)   By a Claiming Party. A party claiming relief may move, with or without supporting
      affidavits, for summary judgment on all or part of the claim.

(b)   By a Defending Party. A party against whom relief is sought may move, with or
      without supporting affidavits, for summary judgment

(c)   Time for a Motion, Response, and Reply; Proceedings.

      (1)   These times apply unless a different time is set by local rule or the court orders
            otherwise:

            (A)    a party may move for summary judgment at any time until 30 days after
                   the close of all discovery;

            (B)    a party opposing the motion must file a response within 21 days after the
                   motion is served or a responsive pleading is due, whichever is later; and

            (C)    the movant may file a reply within 14 days after the response is served.

      (2)   The judgment sought should be rendered if the pleadings, the discovery and
            disclosure materials on file, and any affidavits show that there is no genuine
            issue as to any material fact and that the movant is entitled to judgment as a
            matter of law.

(d)   Case Not Fully Adjudicated on the Motion.

      (1)   Establishing Facts. If summary judgment is not rendered on the whole action,
            the court should, to the extent practicable, determine what material facts are not
            genuinely at issue. The court should so determine by examining the pleadings
            and evidence before it and by interrogating the attorneys. It should then issue
            an order specifying what facts — including items of damages or other relief —
            are not genuinely at issue. The facts so specified must be treated as established
            in the action.

      (2)   Establishing Liability. An interlocutory summary judgment may be rendered
            on liability alone, even if there is a genuine issue on the amount of damages.

(e)   Affidavits; Further Testimony.

      (1)   In General. A supporting or opposing affidavit must be made on personal
            knowledge, set out facts that would be admissible in evidence, and show that
            the affiant is competent to testify on the matters stated. If a paper or part of a
            paper is referred to in an affidavit, a sworn or certified copy must be attached to
            or served with the affidavit. The court may permit an affidavit to be
            supplemented or opposed by depositions, answers to interrogatories, or
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             additional affidavits.

      (2)    Opposing Party's Obligation to Respond. When a motion for summary
             judgment is properly made and supported, an opposing party may not rely
             merely on allegations or denials in its own pleading; rather, its response must
             — by affidavits or as otherwise provided in this rule — set out specific facts
             showing a genuine issue for trial. If the opposing party does not so respond,
             summary judgment should, if appropriate, be entered against that party.

(f)   When Affidavits Are Unavailable. If a party opposing the motion shows by affidavit
      that, for specified reasons, it cannot present facts essential to justify its opposition, the
      court may:

      (1)    deny the motion;

      (2)    order a continuance to enable affidavits to be obtained, depositions to be taken,
             or other discovery to be undertaken; or

      (3)    issue any other just order.

(g)   Affidavits Submitted in Bad Faith. If satisfied that an affidavit under this rule is
      submitted in bad faith or solely for delay, the court must order the submitting party to
      pay the other party the reasonable expenses, including attorney's fees, it incurred as a
      result. An offending party or attorney may also be held in contempt.
